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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


   Mahmoud KHALIL,

                      Petitioner,

   v.                                                      Case No. 2:25-cv-01963

   Donald J. TRUMP, in his official capacity as            Hon. Michael E. Farbiarz
   President of the United States; William P. JOYCE,
   in his official capacity as Acting Field Office          NOTICE OF MOTION
   Director of New York, Immigration and Customs            FOR ADMISSION PRO
   Enforcement; Caleb VITELLO, Acting Director,            HAC VICE OF CONOR T.
   U.S. Immigration and Customs Enforcement; Kristi            FITZPATRICK
   NOEM, in her official capacity as Secretary of the
   United States Department of Homeland Security;
   Marco RUBIO, in his official capacity as Secretary
   of State; and Pamela BONDI, in her official capacity
   as Attorney General, U.S. Department of Justice,

                      Respondents.


        PLEASE TAKE NOTICE that as soon as counsel may be heard, but no later

  than the regular April 21, 2025 motion day, the undersigned counsel for proposed

  amicus curiae Foundation for Individual Rights and Expression hereby moves before

  the Honorable Michael E. Farbiarz, United States District Judge at the Martin Luther

  King Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ for an Order pursuant

  to L. Civ. R. 101.1(c), admitting Conor T. Fitzpatrick as counsel pro hac vice in the

  above-captioned matter;

        PLEASE TAKE FURTHER NOTICE that in support of this Motion, the

  undersigned will rely upon the Certifications of Conor T. Fitzpatrick and Greg H.




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  Greubel, as well as the attached Certificates of Good Standing. A proposed Order is

  attached hereto.

  Dated: March 21, 2025                    Respectfully Submitted,

                                           /s/ Greg H. Greubel
                                           Conor T. Fitzpatrick*
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                                              RIGHTS AND EXPRESSION
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                                           Counsel for Amicus Curiae
                                           *Pro hac vice application pending




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